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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
                                                  §
 VOCALIFE LLC,                                    §
                                                  §    Case No.
                            Plaintiff,            §
                                                  §    JURY TRIAL DEMANDED
            v.                                    §
                                                  §
 AMAZON.COM, INC. and
                                                  §
 AMAZON.COM SERVICES, INC.,
                                                  §
                            Defendants.           §
                                                  §


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Vocalife, LLC (“Vocalife” or “Plaintiff”) files this Complaint against

Defendants Amazon.com, Inc. and Amazon.com Services, Inc. (collectively, “Amazon” or

“Defendants”), for patent infringement under 35 U.S.C. § 271 and alleges as follows:

                                          THE PARTIES

       1.        Vocalife is a limited liability company organized and existing under the laws of

the State of Texas, with its principal place of business located at 7300 Lone Star Drive, C200

Plano, Texas 75024.

       2.        Upon information and belief, Defendant Amazon.com, Inc. is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of business

located at 410 Terry Avenue North, Seattle, Washington 98109-5210.

       3.        Upon information and belief, Defendant Amazon.com Services, Inc. is a

corporation organized and existing under the laws of the State of Delaware, which is headquartered

at 410 Terry Avenue North, Seattle, Washington 98109-5210.

       4.        Upon information and belief, Amazon.com, Inc. is the ultimate parent of
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Amazon.com Services, Inc.1 Amazon is a leading manufacturing and seller of virtual assistant

smart speakers in the world and in the United States.2

                                         JURISDICTION

        5.      This is an action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. §§ 1, et seq. This Court has jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1338(a).

        6.      This Court has personal jurisdiction over Amazon. Amazon regularly conducts

business and has committed acts of patent infringement and/or has induced acts of patent

infringement by others in this District and/or has contributed to patent infringement by others in

this District, the State of Texas, and elsewhere in the United States.

        7.      Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and 1400(b)

because, among other things, upon information and belief Amazon maintains regular and

established physical places of business in Texas and in the Eastern District of Texas, directly or

through intermediaries.

        8.      Amazon has admitted that it operates an Amazon Fulfillment Center within this

District.3

        9.      Amazon has admitted that it employs information technology personnel at its

Fulfillment Center in Denton County, which is in this District.4



1
  See Vocalife, LLC v. Amazon.com, Inc. and Amazon.com, LLC, Case No. 2:19-cv-00123-JRG,
Dkt. 226 at 2 (E.D. Tex. July 31, 2020) (“Amazon.com, Inc. is the parent company of Amazon.com
Services, Inc.”).
2
   See id. (“Amazon admits that subsidiaries of Amazon.com, Inc. sell virtual assistant smart
speakers in the United States and outside the United States.”).
3
  See Exhibit A at ¶¶ 7 and 16; see also Vocalife LLC v. Amazon.com, Inc. and Amazon.com, LLC,
Case No. 2:19-cv-00123-JRG, Dkt. 226 at 2 (“Amazon admits that subsidiaries of Amazon.com,
Inc. operate a fulfillment center in this district.”).
4
  Id. at ¶ 20.


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         10.    Upon information and belief, Amazon, by itself and/or through its subsidiaries,

operates one or more “Fulfillment Centers” within this Judicial District including, at least, a

Fulfillment Center located in Denton County at 15201 Heritage Parkway, Fort Worth, Texas

76177.

         11.    Upon information and belief, Amazon has a regular and established place of

business in this Judicial District, including, at least, a distribution facility located at 1649 W.

Frankford Road, Carrollton, Texas 75007, Amazon “lockers,”5 employees, and other business.

         12.    Upon information and belief, Amazon has a regular and established place of

business in this Judicial District, including, at least, a Fulfillment Center located in Denton County

at 4121 International Parkway, Carrollton, Texas, 75007.

         13.    Upon information and belief, Amazon has property in Denton County appraised

on the property tax rolls by Denton County at $104,448,891.006 and $26,168,603.00.7 Amazon

and/or its subsidiaries employ individuals within this Judicial District responsible for the

distribution of its products including those accused of infringement below.

         14.    Amazon offers its products and/or services, including those accused of

infringement below, to customers and potential customers located in Texas and in this District.

         15.    Amazon offers its products and/or services, including those accused of

infringement below, to customers and potential customers located in Texas and in this District.

         16.    Amazon is subject to personal jurisdiction in this District, has a regular and

established place of business in this District including Amazon Fulfillment Centers in this District




5
  Amazon operates “Amazon Hub Lockers” in at least the following locations: Plano, Carrollton,
The Colony, and Lewisville. See https://www.amazon.com/gp/css/account/address/view.html.
6
  https://www.dentoncad.com/home/details?search=699143&year=2020.
7
  https://www.dentoncad.com/home/details?search=776100&year=2020.


                                                  3
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and throughout Texas, has purposely transacted business involving the Accused Products in this

District, has purposely transacted business involving the Accused Products in this District,

including sales to one or more customers in Texas, has employees in this District, and certain of

the acts complained of herein occurred in this District.

        17.      Amazon is subject to this Court’s jurisdiction pursuant to due process and/or the

Texas Long Arm Statute due at least to its substantial business in this State and District, including

(a) at least part of its past infringing activities, (b) regularly doing or soliciting business in Texas,

and/or (c) engaging in persistent conduct and/or deriving substantial revenue from goods and

services provided to customers in Texas.

                                         PATENT-IN-SUIT

        18.      On October 14, 2014, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 8,861,756 (the “’756 Patent”) entitled “Microphone Array System.”

A true and correct copy of the ’756 Patent attached hereto as Exhibit B.

        19.      On August 2, 2018, a reissue application was filed for the ’756 Patent. As a result,

on December 29, 2020, the United States Patent and Trademark office duly and legally issued U.S.

Patent No. RE48,371 (the “’371 Patent”) entitled “Microphone Array System.” A true and correct

copy of the ’371 Patent is attached hereto as Exhibit C.

        20.      Vocalife is the sole and exclusive owner of all right, title, and interest in the ’371

Patent, and holds the exclusive right to take all actions necessary to enforce its rights to the ’371

Patent, including the filing of this patent infringement lawsuit. Vocalife also has the right to

recover all damages for past, present, and future infringement of the ’371 Patent and to seek

injunctive relief as appropriate under the law.

        21.      Vocalife has at all times complied with the marking provisions of 35 U.S.C. § 287




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with respect to the ’371 Patent. On information and belief, prior assignees and licensees have also

complied with the marking provisions of 35 U.S.C. § 287.

                                  FACTUAL ALLEGATIONS

       22.      The ’371 Patent was developed at Li Creative Technologies Inc. by Dr. Manli Zhu

and Dr. Qi (“Peter”) Li who have been at the forefront of audio processing technology for over

two decades. In the late 2000’s Dr. Li and Dr. Zhu worked to develop novel audio, speech, and

image processing technology, including circular microphone arrays. Their work resulted in the

issuance of the ’371 Patent.

       23.      In 2011, Dr. Li participated in the Consumer Electronics Show (“CES”) where

they were awarded the CES Innovations Design and Engineering Award in the Audio Accessories

Category.

       24.      On or about September 20, 2011, Jerry Wu from A2Z Development Center, Inc.,

d/b/a Lab126 (“Lab126”), the hardware design arm of Defendant Amazon, reached out to Dr. Li

expressing interest in the 3D audio, noise and echo cancellation technology and, in particular,

adaptive beamforming technology.

       25.      On or about October 17, 2011, Dr. Li accepted an invitation by Lab126 and met

with at least Aleksandar Pance, Wei Li,8 and Matthew Holland from Lab126 (the “Meeting”). At

the Meeting, Dr. Qi Li performed a confidential demonstration and presented the invention

including a circular microphone array, 3D sound, acoustic echo cancellations, and sound source

localization, including both hardware and software. Dr. Li’s presentation materials, which were

provided to Amazon, referenced Li Creative’s pending and issued patents. Dr. Li also



8
  Wei Li was a former employee at Li Creative and, while employed by Lab126, had knowledge
that Li Creative had filed patents on circular microphone array, noise reduction, noise cancellation,
and sound source localization technologies.

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confidentially introduced the concept of using voice and cloud computation to search music as one

of the applications of the microphone array technology.

       26.      Dr. Qi Li contacted Lab126 to follow-up on the Meeting on or about June 22, 2012

and December 11, 2014; however, Dr. Li did not receive a response to his emails during this

timeframe.

       27.      Following the commercialization of the first Amazon Echo product, Dr. Li

attended a launch event hosted by Amazon in New York City. After the event, Dr. Li received a

message from an Amazon employee in recruiting. Dr. Li responded with a message to be

forwarded to Rohit Prasad, currently Vice President and Head Scientist – Alexa Artificial

Intelligence, regarding the meeting between Li Creative and Lab126 and Li Creative’s issued and

pending patents. On information and belief, Mr. Prasad received Dr. Li’s message.

       28.      Amazon has a policy or practice of not reviewing the patents of others (including

instructing its employees to not review the patents of others). On information and belief, at least

the following employees of Amazon and/or its subsidiaries were aware of Vocalife’s patents but

adhered to Amazon’s established policy or practice of not reviewing the patents of others:

Aleksander Pance, Matthew Holland, Wei Li, Jerry Wu, and Rohit Prasad. Further, Amazon and/or

one or more of its subsidiaries have cited the Asserted Patents during prosecution of its own patent

applications.

       29.      The ’371 Patent generally covers systems and methods for use in a microphone

array system. The invention described in the ’371 Patent was developed by Dr. Manli Zhu and Dr.

Qi Li. For example, the invention is implemented by infringing virtual assistant smart speakers

utilizing Amazon “Alexa” Technology. Upon information and belief, Amazon makes, uses, sells,

and/or imports infringing virtual assistant smart speakers, such as the Amazon Echo products.




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       30.      Amazon has also infringed and is continuing to infringe the ’371 Patent by

making, using, selling, offering to sell, and/or importing, and by actively inducing others to make,

use, sell, offer to sell, and/or importing, products including microphone array systems technology

and associated software that infringes the ’371 Patent. Such products include at least the Amazon

Alexa-enabled products including, but not limited to, the Amazon Echo products. Vocalife

manufactures and sells the CrispMic II, a smart microphone as a module for voice interactive

products. The CrispMic II is a multiple-microphone array module for smart speakers, robotic

devices, smart appliances, and other IoT platforms that require far-field voice capture, speech

recognition, and voice control. The CrispMic II is powered by Vocalife’s advanced DSP

algorithms developed over the past decade to suppress background noise, enhance speech

intelligibility, and improve automatic speech recognition accuracy.9

       31.      Vocalife marks the CrispMic II product with the ’371 Patent and has complied

with 35 U.S.C. § 287.10

       32.      Amazon’s infringement of the ’371 Patent is willful. Amazon continues to commit

acts of infringement despite a high likelihood that its actions constitute infringement, and Amazon

knew or should have known that its actions constituted an unjustifiably high risk of infringement.

                                         COUNT I
                               (Infringement of the ’371 Patent)

       33.      Paragraphs 1 through 32 are incorporated by reference as if fully set forth herein.

       34.      Vocalife has not licensed or otherwise authorized Amazon to make, use, offer for

sale, sell, or import any products that embody the inventions of the ’371 Patent.

       35.      Amazon has directly infringed and continues to directly infringe the ’371 Patent,


9
  https://vocalife.com/wp-
content/uploads/2019/02/Farfield_Mic_Developer_Module_Vocalife_Datasheet_4Feb2019.pdf.
10
   Id.


                                                 7
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either literally or under the doctrine of equivalents, without authority and in violation of 35 U.S.C.

§ 271, by making, using, offering to sell, selling, and/or importing into the United States products

that satisfy each and every limitation of one or more claims of the ’371 Patent. Such products

include virtual assistant smart speakers and other hardware and software implementing a

microphone array system. On information and belief, infringing products include at least the Alexa

enabled products, such as the Amazon Echo products.

       36.      For example, Amazon has and continues to directly infringe at least claim 26 of

the ’371 Patent by making, using, offering to sell, selling, and/or importing into the United States

virtual assistant smart speakers that utilize a microphone array system.

       37.      Upon information and belief, the Amazon Echo products include a microphone

array which is an array of sound sensors positioned in a linear, circular, or other configuration,

wherein said sound sensors receive said sound signals from a plurality of disparate sound sources,

wherein received sound signals comprise said target sound signal from a target sound source

among said disparate sound sources, and ambient noise signals. An image of Amazon’s Echo

product is shown below.11




11
   https://www.ifixit.com/Teardown/Amazon+Echo+Teardown/33953; Annotations in the image
originate from https://www.ifixit.com/Teardown/Amazon+Echo+Teardown/33953. Green circles
indicate the microphones located in Amazon’s Echo product.

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       38.      Upon information and belief, the Amazon Echo products include a digital signal

processor, such as digital signal processors (“DSP”), manufactured by third parties including

Texas Instruments, MediaTek, and AMLogic.

       39.      Upon information and belief, the DSPs included in the Amazon Echo products

implement a sound source localization unit that estimates a spatial location of said target sound

signal from said received sound signals, by determining a delay between each of said sound sensors

and an origin of said array of said sound sensors as a function of distance between each of said

sound sensors and said origin, a predefined angle between each of said sound sensors and a

reference axis, and an azimuth angle between said reference axis and said target sound signal,

when said target sound source that emits said target sound signal is in a two-dimensional plane,

wherein said delay is represented in terms of number of samples, and wherein said determination



                                                9
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 of said delay enables beamforming for arbitrary numbers of said array of sound sensors and in a

 plurality of arbitrary configurations of said array of said sound sensors.12

        40.       Upon information and belief, the DSPs included in the Amazon Echo products

 implement an adaptive beamforming unit that steers directivity pattern of said array of said sound

 sensors in a direction of said spatial location of said target sound signal, wherein said adaptive

 beamforming unit enhances said target sound signal and partially suppresses said ambient noise

 signals.13 An image of Amazon Echo’s sound source localization unit is shown below:14




        41.       Upon information and belief, the DSPs included in the Amazon Echo products



 12
    https://developer.amazon.com/docs/alexa-voice-service/audio-hardware-
 configurations.html#hardware.
 13
    Id.
 14
    https://thewirecutter.com/reviews/amazon-echo-vs-google-home/; The beamforming
 technology is indicated by the light ring in Amazon Echo products which will turn solid blue
 upon hearing the “wake word” or when it is manually awakened, and a small section of the light
 ring will turn cyan and point in the direction of the sound. See
 https://www.amazon.com/gp/help/customer/display.html?nodeId=201601790; see also
 https://www.cnet.com/how-to/light-ring-colors-amazon-echo-alexa/.


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 implement a noise reduction unit that suppresses said ambient noise signals for further enhancing

 said target sound signal.

        42.      Upon information and belief, the DSPs included in the Amazon Echo products

 implement an echo cancellation unit for performing echo cancellation for further enhancing said

 target sound signal.

        43.      For example, Amazon has and continues to directly infringe at least claim 34 of

 the ’371 Patent by making, using, offering to sell, selling, and/or importing into the United States

 virtual assistant smart speakers that utilize a microphone array system.

        44.      Upon information and belief, the Amazon Echo products include a microphone

 array, which is an array of sound sensors positioned in a linear, circular, or other configuration,

 wherein said sound sensors receive said sound signals from a plurality of disparate sound sources,

 wherein said received sound signals comprise said target sound signal from a target sound source

 among said disparate sound sources, and ambient noise signals. An image of Amazon’s Echo

 product is shown below:15




 15
    https://www.ifixit.com/Teardown/Amazon+Echo+Teardown/33953; Annotations in the image
 originate from https://www.ifixit.com/Teardown/Amazon+Echo+Teardown/33953. Green circles
 indicate the microphones located in Amazon’s Echo product.

                                                 11
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        45.      Upon information and belief, the Amazon Echo products include a digital signal

 processor, such as digital signal processors (“DSP”), manufactured by third parties including

 Texas Instruments, MediaTek, and AMLogic.

        46.      Upon information and belief, the DSPs included in the Amazon Echo products

 comprise a sound source localization unit that estimates a spatial location of said target sound

 signal from said received sound signals, by determining a delay between each of said sound sensors

 and an origin of said array of said sound sensors as a function of distance between each of said

 sound sensors and said origin, a predefined angle between each of said sound sensors and a

 reference axis, and an azimuth angle between said reference axis and said target sound signal,

 when said target sound source that emits said target sound signal is in a two-dimensional plane,

 wherein said delay is represented in terms of number of samples, and wherein said determination



                                                12
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 of said delay enables beamforming for arbitrary numbers of said array of sound sensors and in a

 plurality of arbitrary configurations of said array of said sound sensors.16

        47.       Upon information and belief, the DSPs included in the Amazon Echo products

 comprise an adaptive beamforming unit that steers directivity pattern of said array of said sound

 sensors in a direction of said spatial location of said target sound signal, wherein said adaptive

 beamforming unit enhances said target sound signal and partially suppresses said ambient noise

 signals.17 An image of Amazon Echo’s sound source localization unit is shown below:18




        48.       Upon information and belief, the DSPs included in the Amazon Echo products



 16
    https://developer.amazon.com/docs/alexa-voice-service/audio-hardware-
 configurations.html#hardware.
 17
    Id.
 18
    https://thewirecutter.com/reviews/amazon-echo-vs-google-home/; The beamforming
 technology is indicated by the light ring in Amazon Echo products which will turn solid blue
 upon hearing the “wake word” or when it is manually awakened, and a small section of the light
 ring will turn cyan and point in the direction of the sound. See
 https://www.amazon.com/gp/help/customer/display.html?nodeId=201601790; see also
 https://www.cnet.com/how-to/light-ring-colors-amazon-echo-alexa/.


                                                  13
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 comprise a noise reduction unit that suppresses said ambient noise signals for further enhancing

 said target sound signal.

         49.      Upon information and belief, the DSPs included in the Amazon Echo products

 comprise an echo cancellation unit that performs echo cancellation for further enhancing said

 target sound signal.

         50.      Amazon has had knowledge and notice of the ’371 Patent at least as of the filing

 of the Complaint. On information and belief, Amazon and/or one or more of Amazon’s

 subsidiaries have cited the ’756 Patent and/or its application during prosecution of their own patent

 applications. Amazon has also had specific knowledge of the ’371 Patent as of the date when it

 was notified of the filing of this action.

         51.      Amazon has a policy or practice of not reviewing the patents of others (including

 instructing its employees to not review the patents of others), and thus has been willfully blind to

 Vocalife’s patent rights.

         52.      On information and belief, Amazon and/or one or more of its subsidiaries19 had

 knowledge of the risk of infringement of the Asserted Patents or that said risk was so obvious that

 it should have been known.

         53.      Amazon has indirectly infringed and continues to indirectly infringe one or more

 claims of the ’371 Patent, as provided by 35 U.S.C. § 271(b), by inducing infringement by others,

 such as Amazon’s customers and end-users, in this District and elsewhere in the United States. For

 example, Amazon’s customers and end-users directly infringe, either literally or under the doctrine

 of equivalents, through their use of the inventions claimed in the ’371 Patent. Amazon induces this




 19
  See Vocalife, LLC v. Amazon.com, Inc. and Amazon.com, LLC, Case No. 2:19-cv-00123-JRG,
 Dkt. 95-24 (E.D. Tex. Apr. 8, 2020) (“Amazon’s Stipulation Regarding Amazon and Lab126”).


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 direct infringement through its affirmative acts of manufacturing, selling, distributing, and/or

 otherwise making available the Accused Products, and providing instructions, documentation, and

 other information to customers and end-users suggesting that they use the Accused Products in an

 infringing manner, including technical support, marketing, product manuals, advertisements, and

 online documentation. Because of Amazon’s inducement, Amazon’s customers and end-users use

 Accused Products in a way Amazon intends and directly infringe the ’371 Patent. Amazon

 performs these affirmative acts with knowledge of the ’371 Patent and with the intent, or willful

 blindness, that the induced acts directly infringe the ’371 Patent.

        54.      Amazon has indirectly infringed and continues to indirectly infringe one or more

 claims of the ’371 Patent, as provided by 35 U.S.C. § 271(c), by contributing to direct infringement

 by others, such as customers and end-users, in this District and elsewhere in the United States.

 Amazon’s affirmative acts of selling and offering to sell the Accused Products in this District and

 elsewhere in the United States and causing the Accused Products to be manufactured, used, sold,

 and offered for sale contributes to others’ use and manufacture of the Accused Products such that

 the ’371 Patent is directly infringed by others. The accused components within the Accused

 Products are material to the invention of the ’371 Patent, are not staple articles or commodities of

 commerce, have no substantial non-infringing uses, and are known by Amazon to be especially

 made or adapted for use in the infringement of the ’371 Patent. Amazon performs these affirmative

 acts with knowledge of the ’371 Patent and with intent, or willful blindness, that they cause the

 direct infringement of the ’371 Patent.

        55.      Because of Amazon’s direct and indirect infringement of the ’371 Patent, Vocalife

 has suffered damages, and will continue to suffer, damages in an amount to be proved at trial.

        56.      Because of Amazon’s direct and indirect infringement of the ’371 Patent, Vocalife




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 has suffered, and will continue to suffer, irreparable harm for which there is no adequate remedy

 at law, unless Amazon’s infringement is enjoined by this Court.

            57.      Amazon has committed and continues to commit acts of infringement that

 Amazon actually knew or should have known constituted an unjustifiably high risk of infringement

 of at least one valid and enforceable claim of the ʼ371 Patent. Amazon’s direct and indirect

 infringement of the ʼ371 Patent has been and continues to be willful, intentional, deliberate, and/or

 in conscious disregard of Vocalife’s rights under the patent. Vocalife is entitled to an award of

 treble damages, reasonable attorney fees, and costs in bringing this action.

                                     DEMAND FOR JURY TRIAL

            Plaintiff hereby demands a jury for all issues so triable.

                                         PRAYER FOR RELIEF

            WHEREFORE, Vocalife prays for relief against Amazon as follows:

            a.     Entry of judgment declaring that Amazon infringes one or more claims of the

 ’371 Patent;

            b.     Entry of judgment declaring that Amazon’s infringement of the ’371 Patent is

 willful;

            c.     An order awarding damages sufficient to compensate Vocalife for Amazon’s

 infringement of the ’371 Patent, but in no event less than a reasonably royalty, including

 supplemental damages post-verdict, together with pre-judgment and post-judgment interest and

 costs;

            d.     Enhanced damages pursuant to 35 U.S.C. § 284;

            e.     Entry of judgment declaring that this case is exceptional and awarding Vocalife

 its costs and reasonable attorney fees under 35 U.S.C. § 285;




                                                     16
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        f.       An accounting for acts of infringement;

        g.       Such other equitable relief which may be requested and to which the Plaintiff is

 entitled; and

        h.       Such other and further relief as the Court deems just and proper.


 Dated: December 29, 2020                             Respectfully submitted,

                                                      /s/ Alfred R. Fabricant
                                                      Alfred R. Fabricant
                                                      NY Bar No. 2219392
                                                      Email: ffabricant@fabricantllp.com
                                                      Peter Lambrianakos
                                                      NY Bar No. 2894392
                                                      Email: plambrianakos@fabricantllp.com
                                                      Vincent J. Rubino, III
                                                      NY Bar No. 4557435
                                                      Email: vrubino@fabricantllp.com
                                                      FABRICANT LLP
                                                      230 Park Avenue, 3rd Floor W.
                                                      New York, NY 10169
                                                      Telephone: (212) 257-5797
                                                      Facsimile: (212) 257-5796

                                                      Samuel F. Baxter
                                                      Texas State Bar No. 01938000
                                                      Email: sbaxter@mckoolsmith.com
                                                      Jennifer L. Truelove
                                                      Texas State Bar No. 24012906
                                                      Email: jtruelove@mckoolsmith.com
                                                      MCKOOL SMITH, P.C.
                                                      104 E. Houston Street, Suite 300
                                                      Marshall, Texas 75670
                                                      Telephone: (903) 923-9000
                                                      Facsimile: (903) 923-9099


                                                      ATTORNEYS FOR PLAINTIFF
                                                      VOCALIFE LLC




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